Case 2:05-Cr-20264-BBD Document 15 Filed 08/15/05 Page 1 of 2 Page|D 13

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IN THE UNITED sTATEs DIsTRIcT coURT
FOR THE WESTERN DIsTRIcT FOR TENNBS$BE l 5 PH 3= 23

WESTERN DIVISION
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UNITED STATES OF AMERICA, wm OF c I|;q_ié%is
Plaintift`,
vs. Cr. No. 05-20264-D
TAMMIE McCANN,
Defendant.

 

ORDER GRANT[NG DEFENDANT'S MOTION TO WAIVE
APPEARANCE AT REPORT DATE

 

For good cause shown, defendant's request to waive her appearance at the report date set in
this case for Thursday, August 25, 2003, at 9:00 a.rn. is hereby GR.ANTED. Det`endant shall not

be required to appear, and shall remain on her present bond.

It is so ORDERED, this the 12 day of August, 2005.

A:/Z/M

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NITED sTATEs DISTRICT COURT Jl`inon

 
  

Thls document entered on the docket Sheet in compliance
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Notice of Distribution

This notice confirms a copy of the document docketed as number 15 in
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ENNESSEE

 

Stephen C. Parker

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Randolph W. Alden

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

i\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

